                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


J & J MARTINDALE VENTURES, LLC, a
Texas Limited Liability Company
                                         Civil Action No.: 5:15-CV-00876
          Plaintiff,

              v.

EAST END BREWING COMPANY, INC., a
Pennsylvania Corporation

          Defendant.




          DEFENDANT EAST END BREWING COMPANY INC.’S REPLY
       BRIEF IN FURTHER SUPPORT OF MOTION TO DISMISS FOR LACK
    OF PERSONAL JURISDICTION AND/OR VENUE OR, IN THE ALTERNATIVE
         TO TRANSFER THIS ACTION TO THE EASTERN DISTRICT OF
       PENNSYLVANIA ON THE GROUNDS OF FORUM NON CONVENIENS




Jackson Walker L.L.P.                     Norris McLaughlin & Marcus, P.A.

Mark H. Miller                            Jeanne M. Hamburg*
Robert Soza                               Ami Bhatt*
112 E. Pecan, Suite 2400                  875 Third Ave., 8th Floor
San Antonio, TX 78209                     New York, NY 10022
(210) 978-7700                            (212) 808-0700
(210) 978-7790 – Fax                      (212) 808-0844 – Fax

                                          *Admitted Pro Hac Vice
                                  PRELIMINARY STATEMENT

        Before this Court is a dispute that, if not settled by the parties, would have been resolved

by a proceeding before the U.S. Trademark Office, Trademark Trial and Appeal Board

(“TTAB”). The TTAB would have decided the parties’ respective rights to federally register

BIG HOP/BIG HOPS for their respective goods and services, based on each party’s first sale

date anywhere in the nation. Regrettably, instead of being the subject of a settlement or an

efficient, small-scale proceeding which would have left J&J’s Texas trademark common law

rights intact, this case is in federal district court in the wrong state.

        J&J baselessly claims East End asserts exclusive common law trademark rights in Texas.

However, East End’s counsel never protested J&J’s use of its BIG HOPS mark in Texas and

never made any threat of infringement litigation; instead, East End’s counsel offered to amicably

resolve the matter to avoid instituting a TTAB proceeding which would in any event have left

J&J’s Texas common law rights in place. East End does not “implicitly,” explicitly or otherwise

claim common law trademark rights superior to J&J’s in Texas. See Declaration of Scott Smith

in Further Support of East End’s motion (hereinafter, “Smith Reply Dec.”) at ¶¶ 2-3.

        Moreover, J&J wrongly argues that East End’s “purposeful” contact with J&J—that is,

East End’s inadmissible settlement offer—gives rise to personal jurisdiction over East End. J&J

provides no support for its position, and for good reason: if there were such authority, every

declaratory judgment trademark case could be heard in the state of residence of a prospective

plaintiff who received a privileged settlement proposal for trademark coexistence. Given the

frequency with which such communications are transmitted, such a rule would expose countless

companies and individuals to jurisdiction in venues with which they had no contact. It would

discourage settlement of trademark registration disputes. Courts have been loath to penalize



DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER — Page 1
those attempting to reach amicable settlements rather than precipitously filing court actions;

accordingly, even declaratory judgment disputes arising from infringement claims are routinely

transferred out of the accused infringer’s home state to that of the “true plaintiff” on personal

jurisdiction and venue grounds.

        J&J’s incorrectly argues that East End makes an “implicit” claim of Texas rights, which

implicates Texas law, creating personal jurisdiction over East End. This is factually incorrect

and confuses numerous unrelated legal concepts. Moreover, given that East End concedes Texas

common law trademark rights to J&J, the only issue presented is the right to federal trademark

registration under the federal trademark law (the Lanham Act). This Court need only decide

whether (1) East End has sufficient minimum contacts with Texas to support personal

jurisdiction; and (2) given the absence of any relevant issue of Texas law or Texas facts, and

based on the location of documents and third party witnesses in Pennsylvania, this case (if not

dismissed) should be heard by the District Court for the Western District of Pennsylvania.1

                                               ARGUMENT

I.      J&J CANNOT RELY ON INADMISSIBLE SETTLEMENT DISCUSSIONS

        East End reiterates its objection to J&J’s reliance on inadmissible settlement

communications. Federal Rule of Evidence 408 excludes from evidence “conduct or a statement

made during compromise negotiations.” Fed. R. Ev. 408(a)(2); see also Red Wing Shoe Co. v.

Hockerson-Halberstadt, Inc., 148 F.3d 1355, 1361 (Fed. Cir. 1998) (recognizing that in disputes

involving trademark rights, the Federal Rules of Evidence provide “that evidence of promising to

accept...a valuable consideration in...attempting to compromise a claim is not admissible to prove



1
  The U.S. District Court for the Eastern District of Pennsylvania may determine that there is no subject matter
jurisdiction given that East End has not challenged J&J’s right to use the BIG HOPS mark thus presenting a
justiciable controversy. Rather, East End has challenged only J&J’s BIG HOPS federal registration based on East

DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 2
liability for the claim.        Nor is evidence of conduct or statements made in compromise

negotiations.”) (internal marks and citations omitted).

        J&J impermissibly relies on East End’s statements—marked clearly as settlement

communications (see, e.g., D.E. 1-5 at pp. 2-3)—made during settlement discussions in support

of its (incorrect) position that East End implicitly claimed use of its mark in Texas and attempted

to curtail J&J’s trademark rights in San Antonio, Texas, and that East End has now altered its

position concerning its ties to the State of Texas. See, e.g., Pltf. Br. pp. 4-5, 8-9, 11. Such use of

settlement discussions is improper and should be disregarded by the Court.

II.     EAST    END’S   COUNSEL’S   TRANSMISSION   OF    INADMISSIBLE
        CORRESPONDENCE PROPOSING SETTLEMENT IS NOT SUFFICIENT TO
        GIVE RISE TO PERSONAL JURISDICTION OVER EAST END

        In its settlement correspondence to J&J, East End’s counsel proposed a coexistence

agreement whereby the parties both federally register their respective marks. J&J contends that

this emailed correspondence subjects East End to personal jurisdiction in the State of Texas.

Tellingly, J&J relies exclusively on these settlement discussions as East End’s purposeful

activity directed at the State of Texas.

          Courts have repeatedly held that the transmission of cease and desist letters to a party in

another jurisdiction does not subject the sender to that jurisdiction absent other contacts with the

forum state. See, e.g., Ham v. La Cienega Music Co., 4 F.3d 413, 416 (5th Cir. 1993) (granting

motion to dismiss for lack of personal jurisdiction even where defendant had written a cease and

desist letter to plaintiff concerning infringement of its copyrights); Sablatura v. Kokopelli, 98

U.S.P.Q.2d 1919, 2010 WL 4394250, *2 (S.D. Tex. 2010) (finding no personal jurisdiction over

defendant, who had sent cease and desist letter to plaintiff but had not engaged in any purposeful


End’s priority of use, regardless of the fact that this priority arises from use in Pennsylvania. Thus, this case is
most appropriately decided in a petition to cancel registration heard by the TTAB.

DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 3
activities directed at the forum state). “Courts have repeatedly held…that cease-and-desist

letters are insufficient to confer specific personal jurisdiction, because principles of fair play and

substantial justice afford a party sufficient latitude to inform others of its rights without

subjecting itself to jurisdiction in a foreign forum.” DNH, LLC v. In-N-Out Burgers, 381

F.Supp.2d 559, 564 (E.D. La. 2005) (citations and marks omitted); see also Red Wing Shoe Co.,

148 F.3d at 1361 (Fed. Cir. 1998) (finding that transmission of three letters informing plaintiff of

infringement and requesting cessation of infringing activities was not sufficient to subject

patentee to jurisdiction in that state).

         The single case J&J cites to support its position is inapposite. This is the unpublished

decision of SGS Thomson Micro-Electronics, Inc. v. Ferris, 55 F.3d 632, 1995 WL 313932 (5th

Cir. 1995) (unpublished). In that case, the Fifth Circuit upheld a finding of personal jurisdiction

because the plaintiff’s causes of action arose directly from the defendant’s cease and desist letter.

Id. at *3. Specifically, plaintiff alleged claims, inter alia, of tortious harassment, extortion and

defamation in the forum state based on the content of defendant’s letter to plaintiff. Id. at *1, 3.

In contrast, East End’s settlement correspondence is not the basis of any tort claims against J&J

and, indeed, does not relate to the merits of J&J’s claims against East End. See Ham, 4 F.3d at

416 (finding that merits of copyright question did not arise out of defendant’s cease and desist

letter concerning infringement of copyrights). Plaintiff’s request that this Court be guided by the

distinguishable decision in SGS-Thomson asks the Court ignore a wealth of clear case law in

which correspondence to enforce a party’s trademark rights was found insufficient to confer

jurisdiction.

         Moreover, J&J’s mischaracterizes East End’s proposal of a coexistence agreement.

Courts have repeatedly found such proposals insufficient to confer personal jurisdiction over a



DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 4
non-resident defendant. See Red Wing Shoe Co., 148 F.3d at 1361 (finding that an offer to enter

into a trademark license agreement along with demand letter did not confer jurisdiction as “[a]n

offer to license is more closely akin to an offer for settlement of a disputed claim rather than an

arms-length negotiation in anticipation of a long-term continuing business relationship); Catalyst

Medium Four, Inc. v. CardShark, LLC, No. 14-CV-1007, 2015 WL 1412591 (W.D. Tex., Mar.

26, 2015) (holding that defendant sending a cease and desist letter to plaintiff, offering trademark

license, and engaging in unsuccessful licensing discussions insufficient to subject defendant

personal jurisdiction in Texas).    “[M]erely contracting with a resident of a forum state is

insufficient to subject the nonresident to [a] forum’s jurisdiction. This is particularly true when

all of the contacts with the forum state occur for no other reason than the mere fortuity that

plaintiff happens to be a resident of the forum.” DNH, LLC, 381 F.Supp.2d at 564 (finding

negotiations to enter into settlement agreement insufficient to confer jurisdiction over California-

based defendant), citing Holt Oil & Gas Corp. v. Harvey, 801 F.2d 773, 778 (5th Cir. 1986)

(internal marks omitted).

        East End’s correspondence was a settlement proposal. East End’s statements concerning

its BIG HOP mark were made for the purposes of demonstrating its right to registration. It made

no infringement claim and did not threaten J&J’s use of its mark through a federal court filing, or

in any other fashion. Contrary to J&J’s contentions (Pltf. Br. p. 4), at no point did East End

claim that East End had rights superior to J&J in Texas, “implicitly” or otherwise. To be clear,

East End does not claim such rights. See Smith Reply Dec. at ¶ 2. Rather, East End’s counsel

noted that, barring an amicable settlement concerning East End’s trademark registration rights, it

would be forced to petition to cancel J&J’s registration, which it preferred not to do. Claims for

cancellation are typically filed in the U.S. Trademark Office, TTAB, not in federal court. The



DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 5
Board is charged exclusively with determining the defendant’s right to registration, not

defendant’s right to use a mark or whether defendant’s use of the mark infringes the plaintiff’s

mark. See, e.g., TTAB Manual of Procedure § 102.01 (identifying jurisdiction of TTAB as “The

Board is empowered to determine only the right to register. The Board is not authorized to

determine the right to use, nor may it decide broader questions of infringement or unfair

competition”); FirstHealth of the Carolinas Inc. v. CareFirst of Md. Inc., 479 F.3d 825, 81

U.S.P.Q.2d 1919, 1921 (Fed. Cir. 2007) (quoting Board manual); Board of Trustees of University

of Alabama v. Pitts, 107 U.S.P.Q.2d 2001, 2022 (TTAB 2013) (noting that Board has no

jurisdiction to consider question of infringement as “[t]he function of the Board is to determine

whether there is a right to secure or maintain a registration; the Board can do nothing to prevent

parties from using a mark in a certain manner”).

          In TTAB proceedings, a petitioner’s ability to cancel the registrant’s mark does not

require an inquiry into where a petitioner may have first used the mark in issue, but rather merely

if the petitioner was first to use the mark anywhere in the nation, thus establishing priority.2 See,

e.g., Baroid Drilling Fluids, Inc. v. Sun Drilling Prods., 24 U.S.P.Q.2d 1048 (TTAB 1992)

(granting cancellation where petitioner demonstrated prior use of the mark and likelihood of

confusion based on similarity of marks and goods at issue); Real Property Mgmt., Inc. v. Marina

Bay Hotel, 221 U.S.P.Q. 1187 (TTAB 1984); Daniel P. Matthews v. Black Clouds, Cancellation

No. 92058978, 2015 WL 4779216 (TTAB, July 31, 2015).

          Further, were East End to file a cancellation proceeding, and should the TTAB grant

East End’s petition to cancel, East End would not gain common law rights in Texas and J&J



2
 Federal courts also apply this standard in determining claims to cancel trademark registrations based on priority of
use. See, e.g., Nat’l Cable Television Ass'n, Inc. v. American Cinema Editors, Inc., 937 F.2d 1572 (Fed. Cir. 1991);
Finck Cigar Co. v. El Duque Grp., Inc., No. 99-CA-0817, 2001 WL 1910547, at *2 (W.D. Tex. June 28, 2001)

DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 6
would not forfeit any common law rights in Texas. Volkswagenwerk Aktiengesellschaft v.

Wheeler, 814 F.2d 812, 819 (1st Cir. 1987) (recognizing that cancellation of a trademark

registration does not extinguish common law rights); Santana Prods., Inc. v. Compression

Polymers, Inc., 8 F.3d 152, 155 (3d Cir. 1993) (stating that “a party’s right to use a trademark is

not dependent on registration”). In sum, East End’s transmission of settlement proposal

correspondence to avoid a TTAB case is not a purposeful contact directed at Texas sufficient to

confer personal jurisdiction over East End in Texas.

III.    THE LAW OF TEXAS IS NOT RELEVANT TO THIS DISPUTE AND IS NOT
        DISPOSITIVE OF THE QUESTION OF PERSONAL JURISDICTION

        J&J argues that because the law of Texas is relevant to determine senior use in Texas,

personal jurisdiction lies in Texas. See Pltf. Br. pp. 11-18. This confuses the issues of an

appropriate forum under the doctrine of forum non conveniens and personal jurisdiction. First,

choice of law has nothing to do with personal jurisdiction. See Verizon Directories Corp. v.

Cohen, Jayson & Foster, P.A., No. 306-CV-2394, 2007 WL 2162105, at *3 (N.D. Tex., July 27,

2007) (clarifying that even where contract between parties provided for application of Texas law,

such consent to application of forum state’s law did not provide basis for finding personal

jurisdiction as choice of law provision differs from choice of forum provision), citing Stuart v.

Spademan, 772 F.2d 1185, 1195 (5th Cir. 1985). Second, no relevant issue of Texas law is

presented in this case. The only “dispute” concerns federal trademark registration rights.

IV.     PENNSYLVANIA NOT TEXAS IS THE CORRECT VENUE UNDER THE LAW
        OF FORUM NON CONVENIENS

        As noted, East End does not dispute J&J’s common law rights in Texas nor claim it has

common law rights in Texas superior to J&J’s (or indeed at all) (see Smith Reply Dec. at ¶¶ 2-3).


(cancelling trademark of Florida party based on Texas party’s prior use and demonstration of likelihood of
confusion).

DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 7
Thus, J&J’s demonstrative table (Pltf. Br. pp. 14-15) is based on an erroneous supposition.

Every “factor” there weighing in favor of a Texas forum assumes “the controlling issue in this

lawsuit is whether or not Defendant can show continual use of BIG HOP in San Antonio that

predates Plaintiff’s first use.” Pltf. Br. p. 14. Once this issue is taken off the table, there are no

advantages to litigating in Texas other than to serve the convenience of J&J. The questions

presented are federal trademark law (Lanham Act), not state law, issues. A Texas federal court

is no better suited to decide those questions than a federal court in Pennsylvania. Given that no

issues arise from the application of state law, San Antonio witnesses and documents attesting as

to J&J’s common law rights in San Antonio, Texas (or anywhere in the State) are not needed.

       Even assuming for the sake of argument that East End’s Texas common law trademark

rights were in issue, courts routinely transfer declaratory judgment actions from the accused

infringer’s home forum to the trademark owner’s where the trademark owner lacks contacts with

the State. This is because courts are loath to discourage trademark owners from attempting to

negotiate compromises that allow them to enforce their trademark rights, in favor of

precipitously filing federal court infringement cases. See Kinetic Concepts, Inc. v. Connetics

Corp., No. 04-CA0237, 2004 WL 2026812, at *3 (W.D. Tex., Sept. 8, 2004) (declining to

exercise jurisdiction over the matter and dismissing it because the court found that plaintiff had

improperly filed a declaratory judgment action in attempt to gain advantage of preferred forum,

subverting rule that the victim of harm to trademark rights “is generally given the initial right to

choose the forum in which the infringement case will be heard”); Capco Int'l, Inc. v. Haas

Outdoors, Inc., No. 3-CV-2127G, 2004 WL 792671, at *4 (N.D. Tex., Apr. 9, 2004) (dismissing

matter where anticipatory litigation deprived “true plaintiff” of right to choose forum where

action should be heard); see also Red Wing, 148 F.3d at 1361 (stating that finding jurisdiction



DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 8
based on offer of license would be “contrary to fair play and substantial justice by providing

disincentives for the initiation of settlement negotiations”); Finck Cigar Co., Inc. v. El Duque

Group, Inc., No. 99-0817, 1999 WL 33290620, * 2 (W.D. Tex., Oct. 29, 1999) (“The Court

noted that a cease and desist letter might be seen as an offer of settlement, and its neither fair, nor

efficient, to provide disincentives to settlement.”). Though as noted this is not a trademark

infringement case, but, rather, a dispute over the right to federal registration, the same principle

follows. This case, if not dismissed, should be transferred to a court where jurisdiction lies.

       That federal court is the U.S. District Court for the Eastern District of Pennsylvania,

where multiple third parties and documents are located. East End’s employees are not the only

witnesses East End would call, as J&J wrongly contends. Multiple third party witnesses are not

employees of East End and can attest to East End’s use of BIG HOP for beers; all reside or do

business in the Commonwealth of Pennsylvania. See Smith Dec. at ¶¶ 33-35.

                                          CONCLUSION

           Defendant East End Brewing Company, Inc. respectfully requests that its motion be

granted.

                                             Respectfully submitted,

                                             Jackson Walker L.L.P.

                                             By:     /s/ Ami Bhatt .
                                             Mark H. Miller
                                             Texas Bar #14099200
                                             mmiller@jw.com
                                             Robert Soza
                                             Texas Bar #18869300
                                             rsoza@jw.com
                                             112 E. Pecan, Suite 2400
                                             San Antonio, TX 78209
                                             (210) 978-7700
                                             (210) 978-7790 – Fax

                                             -and-

DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 9
                                            Norris McLaughlin & Marcus, P.A.

                                            Jeanne M. Hamburg*
                                            jhamburg@nmmlaw.com
                                            Ami Bhatt*
                                            abhatt@nmmlaw.com
                                            875 Third Ave., 8th Floor
                                            New York, NY 10022
                                            (212) 808-0700
                                            (212) 808-0844 – Fax
                                            *Admitted Pro Hac Vice

                                            ATTORNEYS FOR DEFENDANT
                                            EAST END BREWING COMPANY, INC.

                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on February 18, 2016, the foregoing document was

electronically filed with the clerk of the U.S. District Court, Western District of Texas using the

electronic case filing system of the court, which will send notice of such filing to all counsel of

record.

                                             /s/ Ami Bhatt
                                             Ami Bhatt




DEFENDANT EAST END BREWING COMPANY INC.’S REPLY IN
SUPPORT OF MOTION TO DISMISS OR TRANSFER— Page 10
